IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

RUTH RODRIGUEZ
3457 Englewood St.
Philadelphia, PA 19149
CIVIL ACTION
Plaintiff,

v. : No.:

VERIZON PENNSYLVANIA, LLC : JURY TRIAL DEMANDED
900 Race St. :
Philadelphia, Pa 19107
and
VERIZON SERVICES CORPORATION
900 Race St.
Philadelphia, Pa 19107

Defendants

 

CIVIL ACTION COMPLAINT
Plaintiff, by and through her undersigned counsel, hereby avers as follows:
I. INTRODUCTION

l. This action has been initiated by Ruth Rodriguez (hereinafter referred to as
“Plaintiff,” unless indicated otherwise) against Verizon Pennsylvania, LLC and Verizon Services
Corporation (hereinaj?er collectively referred to as “Defendants,” unless indicated otherwise) for
violations of Title VII of the Civil Rights Act of 1964 ("Title VII - 42 U.S.C. §§ 2000d et seq.),
42 U.S.C. § 1981, the Americans with Disabilities Act (“ADA” - 42 U.S.C. §§ lZlOl et seq.),
Family and Medical Leave Act ("FMLA - 29 U.S.C. §2601 er seq.), and the Pennsylvania
Hurnan Relations Act (“PHRA”).l As a direct consequence of Defendants’ unlawful actions,

Plaintiff seeks damages as set forth herein.

 

l Plaintifi’ s claim under the PHRA is referenced herein for notice purposes She is required to wait l full year before
initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file her lawsuit in advance of

 

II. .]'URISDICTION AND VENUE

2. This Court, in accordance With 28 U.S.C. § 1331, has jurisdiction over Plaintiff’ s
claims because this civil action arises under laws of the United States.

3. This Court may properly maintain personal jurisdiction over Defendants because
Defendants’ contacts With this state and this judicial district are sufficient for the exercise of
jurisdiction over Defendants to comply with traditional notions of fair play and substantial
justice, satisfying the standard set forth by the United States Supreme Court in International Shoe
Co. v. Washington, 326 U.S. 310 (1945) and its progeny. This Court has supplemental
jurisdiction over Plaintiffs future state-law claim(s) because such claim(s) arise out of the same
common nucleus of operative facts as her federal claims asserted herein,

4. Pursuant to 28 U.S.C. § 1391(b)(l) and (b)(2), venue is properly laid in this
district because all of the acts and/or omissions giving rise to the claims set forth herein occurred
in this judicial district, and in addition, Defendants are deemed to reside Where they are subject
to personal jurisdiction, rendering Defendants residents of the Eastern District of Pennsylvania.

5. Plaintiff is proceeding herein under the Title Vll and the ADA and has properly
exhausted her administrative remedies With respect to such claims by timely filing a Charge of
Discrimination With the Equal Employment Opportunity Commission (“EEOC”) and by filing

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the instant lawsuit vvithin ninety (90) days of receiving a notice of dismissal and/or right to sue

letter from the EEOC.

 

same because of the date of issuance of her federal right-to-sue letter under the ADA and Title VII. Plaintifi`s
PI-IRA claims however Will mirror identically her federal claims under the ADA and Title VII.

 

III. PARTIES

6. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

7. Plaintiff is an adult individual, with an address as set forth in the caption.

8. Defendant Verizon Pennsylvania, LLC is a company with a location at the above-

captioned address that provides wireline telecommunications services exchange
telecommunications services and toll services to customers

9. Defendant Verizon Services Corporation is a corporation with a location at the
above-caption address that provides financial, real estate, and other functional services to all
Verizon business groups and corporate departments

10. Upon information and belief, because of their interrelation of operations common
ownership or management, centralized control of labor relations common financial controls and
other factors Defendants are sufficiently interrelated and integrated in their activities labor
relations ownership and management that they may be treated as a single and/or joint employer
for purposes of the instant action.

ll. At all times relevant herein, Defendants acted by and through their agents
servants and employees each of whom acted at all times relevant herein in the course and scope
of their employment with and for Defendants.

IV. FACTUAL BACKGROUND

12. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

13. Plaintiff was hired to work for Defendants in or about July of 1991 as a bilingual

(Spanish-speaking) maintenance administrator - English and Spanish Repair.

 

14. Since her hire date through her separation with Defendants (discussed further
infra), Plaintiff` s aforesaid job title never changed

15. Plaintiff was employed with Defendants in excess of 25 years

16. Throughout the course of Plaintiff’s employment with Defendants, she was a
dedicated and hard-Working employee who lacked a disciplinary history until she began being
supervised by one, Mike Christie (Director ~ Caucasian).

17. Christie became Plaintiff’s supervisor in or about 2016.

18. While under the supervision of Christie, Plaintiff was treated in a discriminatory
and disparate manner because of her health and need for FMLA leave and because of her
race/national origin (discussed further inj$'a).

19. In or about lanuary of 2017, Plaintiff requested and was granted an approximate
l-month medical leave under the FMLA in order to undergo gall bladder surgery.

20. Upon information and belief, Christie was brought to Plaintiff’s department in
order to resolve “attendance” concerns within said department

21.n As such, Christie made numerous discriminatory comments towards Plaintiff
regarding her aforesaid use of FMLA leave, which was causing him to show “sick time” in his
department (and thus apparently reflecting negatively upon him).

22, In addition to being subjected to a number of discriminatory comments related to
her aforementioned use of FMLA, Christie also made derogatory remarks in reference to
Plaintiff’ s race/national origin.

23. For example, Christie repeatedly refer to Plaintiff as “Chiquita Banana” and

“Mexican Jumping Bean” in addition to making other racist/national origin-based comments

(rarely referring to her by her actual name).

 

24. Plaintiff expressed concerns complained and notified Respondent’s workplace
hotline about Christie’s aforesaid discriminatory conduct

25 . Shortly after expressing concerns regarding Christie’s discriminatory conduct,
Plaintiff was terminated from her employment with Defendants in or about late-February of 2017
for completely false and pretextual reasons

26. Following her late-February of 2017 termination, Plaintiff filed an EEOC charge,
which was thereafter resolved and Plaintiff Was returned to work on or about June 5, 2017.

27. Upon (and even before) her return to work on lurie 5, 2017, Plaintiff attempted
multiple times to transfer to a different department and/or a different job within Defendants so
that she could avoid Christie and his retaliatory/discriminatory conduct

28. However, despite her attempt to transfer to a different department and/or a
different job, Defendants refused to hire Plaintiff into another position or transfer her to another
department

29. Specifically, Plaintiff applied for approximately four (4) different positions
between lune and luly of 2017, all of which she was qualified for; however, Defendants refused
to hire her into any of the said positions for no logical or legitimate reason.

30. lnstead, Plaintiff was kept under the supervision of Christie wherein she was
subjected to further discrimination and retaliation based on her race/national origin, prior
complaints of discrimination (internally and to the EEOC), and prior requests for medical time
off.

31. For example, Respondent’s management, including but not limited to Christie
Would subject Plaintiff to pretextual discipline, treat her in a rude and demeaning manner, yell at

her, and attempt to find reasons to discipline and terminate her.

 

32. By way of specific exarnple, on or about luly 6, 2017, Plaintiff s manager (Ariel
Negron) approached Plaintiff and told her that she was under investigation with anticipation of
termination for allegedly being rude and hanging up on a customer _ which is completely false
and pretextual Plaintiff was also told that she had to cooperate or she would face immediate
termination

33. Plaintiff’ s aforesaid July 6, 2017 investigatory meeting with Defendants’
management had to be continued due to technical issues with trying to play a tape recording from
lune 28, 2017 and due to the fact that Plaintiff was feeling ill.

34. On or about luly 7, 2017, Plaintiff was informed by Christie that she was being
suspended indefinitely pending investigation

35 . On or about July 10, 2017, Plaintiff filed a second Charge of Discrimination with
the EEOC regarding her indefinite suspension pending investigation, claiming that such adverse
action was taken against her in retaliation for her prior complaints of discrimination

36. Plaintist investigatory meeting was rescheduled for luly ll, 2017 and this time,
Christie was present

37. During her luly 11, 2017 investigatory meeting, Christie screamed and yelled at
Plaintiff, badgered her with repetitive questions threatened her with termination, manipulated
the evidence, and over-all create a very hostile environment

38. Plaintiff remained out of work until on or about luly 24, 2017 on an unpaid
suspension, when she was reinstated to her position with Defendant on a “final warning” with no

back pay (after a union filing).

 

39. Upon being reinstated, Plaintiff complained to Defendants’ ethic’s hotline
regarding the retaliatory conduct she was being subjected to based on her prior complaints of
discrimination and retaliation

40. Plaintiff also continued to seek a transfer out of Christie’s department as a result
of his consistent discriminatory and retaliatory behavior; however, her efforts were ignored

41. In or about August of 2017, Plaintiffs legal counsel sent Defendants a letter
attempting to resolve Plaintifi`s aforesaid second EEOC charge and again requesting a transfer
out of Christie’s department

42. Defendants again refused to transfer Plaintiff and claimed it had legitimate
reasons for suspending Plaintiff.

43. Plaintiff continued to be subjected to the aforesaid retaliatory and discriminatory
behavior up and through December 26, 2017 when Plaintiff was terminated yet again for
completely false and pretextual reasons

44. When terminating Plaintiff, Defendant also made reference to Plaintist prior
discriminatory and retaliatory termination in February of 2017 (which was categorized as
suspension and “final warning” by Defendant).

45. Plaintiff was subjected to constant harassmentj issued pretextual discipline, placed
on an unpaid suspension, not hired for other positions refused transfers and ultimately
terminated because of her race/national origin, prior complaints of discrimination, and/or prior

requests and utilization of reasonable medical accommodations (including FMLA leave).

 

Count I2
Violation of Title VII of the Civil Rights Act of 1964 ("Title VII")
([1] Racial/National Origin Discrimination; [2] Retaliation; & [3] Hostile Work Environment)
-Against Both Defendants-

46. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

47. Plaintiff was also subjected to a hostile work environment during her period of
employment due to her race/national origin and/or complaints of racial/national origin
discrimination through disparate treatment pretextual admonishment and demeaning and/or
discriminatory treatment towards her.

48. Plaintiff was also issued pretextual discipline, placed on an unpaid suspension,
not hired for other positions refused transfers and ultimately terminated because of her
race/national origin and/or her complaints of race/national origin discrimination

49. These actions as aforesaid constitute violations Of Title VII.

Count II
Violation of 42 U.S.C. Section 1981
(Racial Discrirnination & Retaliation & Hostile Work Environrnent)
- Against Both Defendants -

50. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

51. Plaintiff was subjected to a hostile work environment during her period of
employment due to her race and/or complaints of racial discrimination through disparate

treatment pretextual admonishment and demeaning and/or discriminatory treatment towards

her_

 

2 For Counts I - V, Plaintiff only seeks claims for the hostile work environment and adverse actions she was
subjected to following her lurie 5 , 2017 reinstatement

 

52. Plaintiff was also issued pretextual disciplineJ placed on an unpaid suspension,
not hired for other positions refused transfers and ultimately terminated because of her race
and/or her complaints of race discrimination

53. These actions as aforesaid constitute violations of 42 U.S.C. Section 1981.

Count III
Viol§tions of the Americans with Disabilities Act, as amended ("ADA")
(Retaliation)
-Against Both Defendants-

54. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

55. Plaintiff was subjected to a hostile work environment during her period of
employment through disparate treatment pretextual admonishment and demeaning and/or
discriminatory treatment towards her because of her prior complaints of disability discrimination
and retaliation and/or her prior requests for reasonable accommodations

56. Plaintiff was also issued pretextual discipline, placed on an unpaid suspension,
not hired for other positions refused transfers and ultimately terminated because her prior
complaints of disability discrimination and retaliation and/or her prior requests for reasonable
accommodations

57. These actions as aforesaid constitute violations of the ADA, as amended

Count IV
Violations of the Falnilv and Medicarl Leave Act ("FMLA")
(Retaliation)
-Against Both Defendants-

58. The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

 

5 9. Plaintiff was subjected to a hostile work environment issued pretextual discipline,
placed on an unpaid suspension, not hired for other positions refused transfers and ultimately
terminated because her prior requests for/us of FMLA and/or because of her previous complaints
of retaliation under the FMLA.

60. These actions as aforesaid constitute violations of the FMLA.

WI~[EREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendants are to be prohibited from continuing to maintain their illegal policy,
practice or custom of discriminating/retaliating against employees and are to be ordered to
promulgate an effective policy against such unlawful acts and to adhere thereto;

B. Defendants are to compensate Plaintiff, reimburse Plaintiff and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendants’ illegal actions including but not limited to past lost earnings future lost earnings
salary, pay increases bonuses medical and other benefits training, promotions pension, and
seniority. Plaintiff should be accorded those benefits illegally withheld from the date she first
suffered retaliation/discrimination at the hands of Defendants until the date of verdict

C. Plaintiff is to be awarded liquidated `or punitive damages as permitted by
applicable law(s) alleged asserted herein, in an amount believed by the Court or trier of fact to be
appropriate to punish Defendants for their willful, deliberate, malicious and outrageous conduct
and to deter Defendants or other employers from engaging in such misconduct in the future',

D. Plaintiff is to be accorded any and all other equitable and legal relief as the Court
deems just proper and appropriate including for emotional distress;

E. Plaintiff is to be awarded the costs and expenses of this action and reasonable

legal fees as provided by applicable federal and state law;

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F. Any verdict in favor of Plaintiff is to be molded by the Court to maximize the
financial recovery available to Plaintiff in light of the caps on certain damages set forth in
applicable federal law; and

G. Plaintist claims are to receive a trial by jury to the extent allowed by applicable
law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with
F ederal Rule of Civil Procedure 38(b).

Respectfully submitted
KARPF, KARPF, & CERUTTI, P.C.

By: L‘;'_F:./L-MMM§

Ari R,`l'{“arpf, Esq.
3331 Street Road
Two Greenwood Square, Suite 128
Bensalem, PA 19020
Date: March 22, 2018

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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CIVIL COVER SHEET

JS 44 (Rev. 06."17)

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1. (a) PLAINTIFFS DEFENDANTS

RODRIGUEZ, RUTH

(b) county ofReSidence ofFirsr Lis:ed Plaintiff Philadelphia
(EXCEPT!N U.S. PLA[NT[FF CASES)

NOTE:
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(C) Atturl'leys (Ffr'm Name. Address. and Te.'ephone Number) Attomeys (]fKnawn)

Karpf, Karpf & Cerutti, P.C.; 3331 Street Road, Two Greenwood Square,
Suite 128, Bensalem, PA 19020; (215) 639-0801; akarpf@karpf-law.oom

 

County of Residence of First Listed Defendant

VERIZON PENNSYLVANIA, LLC, ET AL.

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Title Vll (42USC2000); 42US 1981; A

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VI. CAUSE OF ACTION

 

VII. REQUEST_ED IN 11 CHECK rF THIS rs A CLASS ACTlON DEMAND $

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(42USC12101); FM]_.A (29USC£601)
Violations of Title VII, 42USC1981, ADA, FMLA and the PHRA.

CHECK YES only if demanded in complaint

 

 

 

 

   

 

COMPLAINT: UNDER RULE 21 F-R-CV.P~ JURY DEMAND: XYes 'Nu
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